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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                     Chapter 11

HAMPTON BAY MANOR, LLC.                                                    Case No. 19-40749 (JMM)

                                             Debtor.
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                                STIPULATION EXTENDING CLAIMS
                            OBJECTION DEADLINE TO OCTOBER 12, 2021

         WHEREAS, on or about February 6, 2019, Hampton Bay Manor, LLC (“Hampton” 1)
filed, in the U.S. Bankruptcy Court for the Eastern District of New York, a petition for bankruptcy
(Ch. 11), which bankruptcy action bears Case No. 19-40749 (CEC) (JMM) (the “Bankruptcy
Action” and the court being the “Bankruptcy Court”); and

       WHEREAS, on or about November 17, 2016, Westchester, as surety, issued a Bond
Discharging Mechanic’s Lien bearing number K09545311 on behalf of Hampton, as principal, in
favor of Magnum and/or the Clerk of the County of Suffolk, and in the amount of Six Hundred
Fifty Six Thousand Seven Hundred Ninety dollars and Thirteen cents ($656,790.13) (“Lien
Discharge Bond”); and

        WHEREAS, in connection with the Lien Discharge Bond, on or about January 3, 2017,
Hampton executed a General Agreement of Indemnity in favor of Westchester, among others, in
which Hampton became obligated to indemnity and save harmless Westchester from, among other
things, any and all liability, claim, demand, loss, damages, expense, cost, attorney’s fees and
expense incurred by Westchester, by reason of its execution of any bond or payment, among other
things; and

        WHEREAS, Magnum filed a proof of claim against Hampton in the Bankruptcy Action,
which claim was registered on the claims docket as claim no. 4-1 (“Magnum Bankruptcy Claim”),
the basis of such claim being a mechanic’s lien in the alleged principal amount of $597,081.94
plus interest representing an alleged unpaid labor performed and/or materials furnished to the
Debtor; and




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    Hampton shall also refer to its Bankruptcy Estate, as well as, as applicable, the Disbursing Agent.
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       WHEREAS, Westchester has filed a proof of claim against Hampton in the Bankruptcy
Action, which claim is registered on the claims docket as claim no. 6-1 (“Westchester Bankruptcy
Claim”), the basis of such claim being, among other things, Westchester’s claim for indemnity
from Hampton with respect to the Bond Discharge Lien, as well as any subrogation claim; and

      WHEREAS, on or about August 27, 2021, a notice of the transfer of the Magnum
Bankruptcy Claim to Westchester (Transfer of Claim Other than for Security), was filed in the
Bankruptcy Action (DE 213); and

         WHEREAS, the claims registry in the Bankruptcy Action now reflects that Westchester
is the creditor with respect to claim no. 4-1; and

       WHEREAS, on or about January 19, 2021, the Bankruptcy Court entered an Amended
Order Confirming Exiting Lenders’ Amended Chapter 11 Plan of Reorganization as Supplemented
and Approving the Accompanying Disclosure Statement (DE 199) (the “Confirmation Order”), in
which, among other things, the Disbursing Agent was recognized as such; and

       WHEREAS, the Confirmation Order fixed February 1, 2021 as the deadline (the
“Objection Deadline”) for Hampton, through the Disbursing Agent, to file objections to claims;
and

       WHEREAS, by a series of Orders, the Objection Deadline has been extended from time
and currently expires on September 10, 2021; and

        WHEREAS, Westchester and Hampton are close to resolving Hampton’s informal
objections to the claims filed by Magnum and Westchester and desire to extend the Objection
Deadline for an additional thirty (30) days to avoid the time and expense of filing formal objections
to claims in light of the progress in the settlement discussions.

       NOW, THEREFORE, it is

       STIPULATED AND AGREED among the parties as follows:

       1.      The Objection Deadline is hereby extended to and including October 12, 2021.

       2.      All rights are otherwise reserved by the respective Parties.
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        3.     This Stipulation may be executed in counterparts, any one of which shall be
deemed to be an original instrument. Any proof of the Stipulation shall require production of
only one such counterpart duly executed by the party to be charged therewith. Signatures
transmitted by facsimile or email, including PDF copies of signatures, shall be accepted and
deemed to be original signatures and shall be binding on the Parties upon signing. Copies of
this Stipulation that do not contain the original, ink signature of a party shall nonetheless be
deemed an original.


 GOLDBERG         WEPRIN        FINKEL                  McELROY, DEUTSCH,
 GOLDSTEIN LLP                                          MULVANEY
 Disbursing Agent for the Bankruptcy Estate of          & CARPENTER, LLP
 Hampton Bay Manor, LLC                                 Attorneys for Creditor Westchester
                                                        Fire Insurance Co.

 By: J. Ted Donovan                                     Gary D. Bressler               _
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 Date: September 10, 2021                               Dated: September 10, 2021

So Ordered




                                                            ____________________________
 Dated: Brooklyn, New York                                         Jil Mazer-Marino
        September 13, 2021                                  United States Bankruptcy Judge
